             Case 2:21-cv-00407-CJB-KWR Document 251 Filed 08/17/24 Page 1 of 1
                         Plaintiff’s Summary of Evidentiary Rulings (Updated)

Excluded in ECF Orders:
   • Any opinion testimony offered by defendant. R. Doc. 199.
   • Any defendant testimony or argument appealing to pecuniary interest of jurors. R. Doc. 199.
   • Any evidence or argument that Rayne Upton engaged in criminal or wrongful conduct. R. Doc. 199.
   • Any argument that G.H. consented to any sexual act, given that she was a minor,
                                                                                             R. Doc. 199.
   • Any argument that
                                                              reduce damages. R. Doc. 199.
   • Testimony/argument that G.H. “knew how to work the system to get what she wanted.” R. Doc 199
   • Any evidence or argument of comparative fault. R. Doc. 199. See also R. Doc. 192-4 at 8 (“The City
      does not intend to argue that Plaintiff’s damage award should be reduced due to comparative fault”)
   • Vicknair testimony:
          o Vicknair’s testimony about sexual abuse within his family, his self-perceived role as his “brother’s
             keeper,” and his personal religious beliefs. R. Doc. 199, R. Doc. 203 (d)
          o Vicknair’s testimony about his medical condition. R. Doc. 203 (c)
          o Other irrelevant material about                  and the nature of Vicknair’s vehicle. R. Doc. 203(e)
          o Vicknair testimony about                   and testimony that plea was false excluded. R. Doc. 249.
          o Sufficient staffing, sexual violence by other officers, other Vicknair misconduct excluded.
             Credibility determination, red flags, deferred to trial. R. Doc. 248.
Feb. 27, 2024 Pre-Trial Conference Rulings:
   • Exhibits 56-58 or argument re failure to pursue restitution excluded.
   • No discussion of criminal case except plea and facts plead to.
   • No reference in opening or questioning to objected-to exhibits until the judge has ruled on objections.
March 13, 2024 Pre-Trial Conference Rulings:
  • Wilson report won't come in, except to impeach Wilson's testimony.
  • Ex. 53 (texts): Judge expressed concerns about whether more prejudicial than probative, but will peruse.
  • Exhibits 54, 55 excluded, except diagnosis pages, without getting into details.
  • FBI file - City only can use for impeachment of Rayne or G.H.
  • Exhibits 59, 60, 61 (previously 58, 59, 60) withdrawn by the City (See corr. of March 13, 2024)
  • Kirkpatrick can give opinion testimony.

City Commitments:
   • City will not introduce C2-C4 (BWC), and C18 (60) (Gabby interview video). Corr. of March 8, 2024.
   • Exhibits 56-61 (C8-C13) withdrawn. See corr. of Aug. 12, 2024.

412 Material Denied (R. Doc. 194; reconsideration denied R. Doc. 229):
   •




City MILs Denied:
   • “Habitual Offender” exhibit and argument. R. Doc. 193.
   • Snapchat request from Rodney, and Snapchat threats. R. Doc. 193.
